Eleanor A. DuBay, OSB No. 073755
TOMASI SALYER MARTIN
121 SW Morrison St, Suite 1850
Portland, OR 97204
edubay@tomasilegal.com
Phone: (503) 894-9900
       Attorneys for Tasha Teherani-Ami




                             UNITED STATES BANKRUPTCY COURT

                                      DISTRICT OF OREGON

In re                                                Bankruptcy Case Nos.:

15005 NW Cornell LLC; and                            19-31883-dwh11 (Lead Case)
Vahan M. Dinihanian, Jr.,
                                                     19-31886-dwh-11
                 Debtors.
                                                     Jointly Administered Under
                                                     Case No. 19-31883-dwh11

                                                     SUPPLEMENTAL DECLARATION OF
                                                     ELEANOR A. DUBAY IN SUPPORT OF
                                                     CREDITOR TASHA TEHERANI-AMI'S
                                                     MOTION TO DISMISS THE
                                                     BANKRUPTCY CASES FOR CAUSE

                 I, Eleanor A. DuBay, after being duly sworn, depose and say:

                 1.       I am an attorney at Tomasi Salyer Martin. I represent Creditor, Tasha

Teherani-Ami ("Creditor"), in the above-referenced action. I make this Declaration in support of

Creditor Tasha Teherani-Ami's Motion to Dismiss the Bankruptcy Cases for Cause [158].

                 2.       This Declaration is based upon my personal knowledge of the facts set

forth herein or a review of my firm's file and records related to these bankruptcy cases. In the

ordinary course of its business, my firm regularly maintains litigation files which include copies


Page 1 – SUPPLEMENTAL DECLARATION OF ELEANOR A. DUBAY IN SUPPORT                   TOMASI SALYER MARTIN
OF CREDITOR TASHA TEHERANI-AMI'S MOTION TO DISMISS THE                          121 SW Morrison Street, Suite 1850
                                                                                     Portland, Oregon 97204
BANKRUPTCY CASES FOR CAUSE                                                          Telephone: (503) 894-9900
TEHERA-B1\00486713.000                                                              Facsimile: (971) 544-7236



                         Case 19-31883-dwh11      Doc 168    Filed 10/29/19
of pleadings and briefing in cases in which it represents a party, correspondence, and other items

such as court and deposition transcripts and copies of exhibits. I have personal knowledge of my

firm's procedures for creating and maintaining pleadings files. If called upon to testify regarding

the matters set forth herein, I could confidently do so.

                 3.       On October 8, 2019, I attended and inquired at the BR 2004 Examination

(the "2004 Exam") of Vahan M. Dinihanian, Jr. and 15005 NW Cornell (hereinafter, "Debtors").

Attached hereto as Exhibit 1 are copies of pages 1-3, 7-9, 12, 50-52, 66-70, 112-113, 136-137,

140, 157-160, 174-176, 180-184, 190-195, 220-221, 235-239, and 241 of Debtors' 2004 Exam

transcript.

                 I HEREBY DECLARE THAT THE ABOVE STATEMENTS ARE TRUE TO

THE BEST OF MY KNOWLEDGE AND BELIEF, AND THAT I UNDERSTAND THAT IT

IS MADE FOR USE AS EVIDENCE IN COURT AND IS SUBJECT TO PENALTY FOR

PERJURY.
                 Dated: October 29, 2019.
                                                  TOMASI SALYER MARTIN


                                                  By: /s/ Eleanor A. DuBay
                                                       Eleanor A. DuBay, OSB #073755
                                                       (503) 894-9900
                                                       edubay@tomasilegal.com
                                                       Of Attorneys for Tasha Teherani-Ami




Page 2 – SUPPLEMENTAL DECLARATION OF ELEANOR A. DUBAY IN SUPPORT                    TOMASI SALYER MARTIN
OF CREDITOR TASHA TEHERANI-AMI'S MOTION TO DISMISS THE                           121 SW Morrison Street, Suite 1850
                                                                                      Portland, Oregon 97204
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TEHERA-B1\00486713.000                                                               Facsimile: (971) 544-7236



                         Case 19-31883-dwh11      Doc 168    Filed 10/29/19
                                  CERTIFICATE OF SERVICE

                 I hereby certify that on October 29, 2019 I served a copy of the foregoing

SUPPLEMENTAL DECLARATION OF ELEANOR A. DUBAY IN SUPPORT OF

CREDITOR TASHA TEHERANI-AMI'S MOTION TO DISMISS THE BANKRUPTCY

CASES FOR CAUSE by electronic means using ECF to the parties listed below:

STEPHEN P ARNOT on behalf of U.S. Trustee US Trustee, Portland
steve.arnot@usdoj.gov
NICHOLAS J HENDERSON on behalf of Debtor Vahan M. Dinihanian, Jr. and Jointly
Administered Debtor Vahan M. Dinihanian, Jr.
nhenderson@portlaw.com,
tsexton@portlaw.com;mperry@portlaw.com;hendersonnr86571@notify.bestcase.com

ELAYNA Z MATTHEWS on behalf of Creditor Columbia State Bank
elayna@sglaw.com, ktate@sglaw.com

BRUCE H ORR on behalf of Interested Party Tasha Teherani-Ami, in her capacity as the trustee
of the Sonja Dinihanian GST Trust DTS 1/1/11
bho@wysekadish.com, tn@wysekadish.com;drw@wysekadish.com

ERICH M PAETSCH on behalf of Creditor Columbia State Bank
epaetsch@sglaw.com, ktate@sglaw.com

DOUGLAS R PAHL on behalf of Debtor 15005 NW Cornell LLC and Interested Party 15005
NW Cornell LLC
dpahl@perkinscoie.com, nlesage@perkinscoie.com;docketpor@perkinscoie.com

TROY SEXTON on behalf of Jointly Administered Debtor Vahan M. Dinihanian, Jr.
tsexton@portlaw.com, nhenderson@portlaw.com,mperry@portlaw.com,troy-sexton-
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DANIEL L STEINBERG on behalf of Creditor Cornell Rd LLC and Creditor Lillian Logan
Daniel.Steinberg@jordanramis.com, Litparalegal@jordanramis.com

US Trustee, Portland
USTPRegion18.PL.ECF@usdoj.gov

and by first-class mail to the parties listed below:

15005 NW Cornell LLC               Vahan M. Dinihanian           Alexander LLC
237 NW Skyline Blvd                237 NW Skyline Blvd.          Attn: Alexander Logan
Portland, OR 97210-1053            Portland, OR 97210-1053       19830 W Dixie Mt. Rd
                                                                 North Plains OR 97133



CERTIFICATE OF SERVICE                                                           TOMASI SALYER MARTIN
TEHERA-B1\00486713.000                                                        121 SW Morrison Street, Suite 1850
                                                                                   Portland, Oregon 97204
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                         Case 19-31883-dwh11       Doc 168   Filed 10/29/19
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Washington DC 20530-0001          Portland, OR 97204              Beaverton OR 97005

Christiana LLC                    Dan Logan                       Daniel Lorenz
Attn: Christiana Logan            19830 W Dixie Mt. Rd            521 SW Clay St.
19830 W Dixie Mt. Rd              North Plains OR 97133           Portland OR 97201
North Plains OR 97133

Gregory Miner                     Internal Revenue Service        Office of the Attorney General
888 SW 5th Ave, Suite 1250        Centralized Insolvency          Oregon Department of Justice
Portland OR 97204                 Operations                      1162 Court St NE
                                  PO Box 7346                     Salem OR 97301-4096
                                  Philadelphia PA 1910-7346

Oregon Dept. of Revenue           Oregon Dept. of Consumer        Oregon Secretary of State
955 Center Street NE              & Business Services             Public Service Building
Salem OR 97309-5018               350 Winter St NE 2nd Floor      255 Capitol St NE, Suite 151
                                  Salem OR 97301                  Salem OR 97310

Washington County                 Washington County               Oregon State Treasury
Dept of HHS - Code                Assessment & Taxation           900 Court Street, Room 159
Enforcement                       155 N. First Ave                Salem OR 97301
155 N. First Ave, MS 5A           Hillsboro OR 97124
Hillsboro OR 97124

Marlin Financial                  Thomas A. Bittner Schulte       Multnomah County
300 Fellowship Rd.                Anderson, et al.                Assessment, Recording &
Mount Laurel, NJ 08054            811 SW Naito Pkwy, Suite        Taxation
                                  500                             PO Box 2716
                                  Portland, OR 97204-3335         Portland, OR 97208-2716

Eagle Holdings LLC                Envisiontec, Inc.               Cornell Rd LLC
237 NW Skyline Blvd.              15162 S. Commerce Dr.           Attn: Lillian Logan
Portland, OR 97210-1053           Dearborn, MI 48120              19830 W Dixie Mt. Rd
                                                                  North Plains OR 97133

                 Dated: October 29, 2019.
                                                TOMASI SALYER MARTIN

                                                By: /s/ Eleanor A. DuBay
                                                     Eleanor A. DuBay, OSB #073755
                                                     (503) 894-9900
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· · · · · ·UNITED STATES BANKRUPTCY COURT

· · · · · · ·FOR THE DISTRICT OF OREGON


· · · · · · · · · · · · · · )
In re:· · · · · · · · · · · )
· · · · · · · · · · · · · · )
15005 NW Cornell, LLC; and· )·         Bankruptcy Case
Vahan M. Dinihanian, Jr.,· ·)·         Nos. 19-31883-dwh11(Lead
· · · · · · · · · · · · · · )·         Case)
· · · · · · · · ·Debtors.· ·)
· · · · · · · · · · · · · · )·         19-31886-dwh11
· · · · · · · · · · · · · · )
· · · · · · · · · · · · · · )·         Jointly
· · · · · · · · · · · · · · )·         Administered under
· · · · · · · · · · · · · · )·         Case No.
· · · · · · · · · · · · · · )·         19-31883-dwh11




· · · · · · · · · ·DEPOSITION OF

· · · · · · · ·VAHAN DINIHANIAN, JR.

· · · · · · Taken in behalf of Claimant

· · · · · · · · · · · *· *       *

· · · · · · · · · October 8, 2019

· · · · ·Two Centerpointe Drive, 6th Floor

· · · · · · · ·Lake Oswego, OR 97035




· Cynthia Marie Smith, CSR

· Court Reporter




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      In re 15005 NW Cornell, LLC and Dinihanian
      Vahan Dinihanian, 10/08/2019                                     Page 2

·1· · · · · · · · · · ·APPEARANCES:

·2· ·For the Debtor, Vahan Dinihanian, Jr.:

·3·   ·MR. NICHOLAS HENDERSON
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· ·   ·503.417.0500
·6·   ·nhenderson@portlaw.com

·7· ·For the Debtor, 15005 NW Cornell, LLC:

·8·   ·MR. DOUGLAS R. PAHL
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10·   ·Portland, OR 97209-4128
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12· ·For the Claimant, Lillian Logan:

13·   ·MR. RUSSELL D. GARRETT
· ·   ·MR. DANIEL STEINBERG
14·   ·Jordan Ramis
· ·   ·Two Centerpointe Drive
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· ·   ·For Tasha Teherani-Ami:
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      In re 15005 NW Cornell, LLC and Dinihanian
      Vahan Dinihanian, 10/08/2019                                     Page 3

·1· ·For Sonja Dinihanian & Trust:

·2·   ·MR. BRUCE H. ORR
· ·   ·Wyse Kadish, LLP
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· ·   ·Suite 2000
·4·   ·Portland, OR, 97204
· ·   ·503.517.8115
·5·   ·bho@wysekadish.com

·6

·7

·8

·9· ·Also Present:· · Tasha Teherani-Ami,
· · ·(Via telephone) Dan Logan, Alexander Logan
10

11

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   Vahan Dinihanian, 10/08/2019                                     Page 7

·1· · LAKE OSWEGO, OREGON; TUESDAY, OCTOBER 8, 2019
·2· · · · · · · · · · · 9:16 a.m.
·3· · · · · · · · · · · *· ·*· ·*
·4· · · · · · · · VAHAN DINIHANIAN, JR.
·5· · called as a witness in behalf of the Claimant,
·6· · · ·having first been sworn by the Reporter,
·7· · · · · · · · testifies as follows:
·8· · · · · ·(Deposition Exhibits Numbers 1 through
·9· · · · · · 11 marked for identification.)
10· · · · · · · · · · ·EXAMINATION
11· ·BY MR. GARRETT:
12· · · Q.· ·Good morning.· My name is Russ Garrett.
13· ·We met ahead of time.· Thanks for coming.· Can
14· ·you give us your complete name for the record
15· ·and your current residence address?
16· · · A.· ·Vahan Dinihanian, Jr.· 237 N.W. Skyline
17· ·Boulevard, Portland 97210.
18· · · Q.· ·Okay.· So we're here today because of a
19· ·2004 exam order.· Are you familiar with what
20· ·that is?· Has anyone told you?
21· · · A.· ·No.
22· · · Q.· ·Have you ever had your deposition taken
23· ·before?
24· · · A.· ·Not -- no, not like this.
25· · · Q.· ·No.· All right.· Ever been involved in


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   Vahan Dinihanian, 10/08/2019                                     Page 8

·1· ·any litigation before?
·2· · · A.· ·No.
·3· · · Q.· ·Have you ever had to give testimony
·4· ·before?
·5· · · A.· ·No.
·6· · · Q.· ·In court or out of court?
·7· · · A.· ·Not this.· I don't know what you're
·8· ·referring to, but...
·9· · · Q.· ·Have you ever been sworn in before?
10· · · A.· ·Yes.
11· · · Q.· ·And then after you were sworn in, asked
12· ·questions?
13· · · A.· ·Yes.
14· · · Q.· ·All right.· What was that -- describe
15· ·what that was about.
16· · · A.· ·I don't recall.· Various occasions.
17· · · Q.· ·So more than once?
18· · · A.· ·I don't recall.
19· · · Q.· ·You don't recall being sworn in and
20· ·testifying?· Or you don't recall what it was
21· ·related to?
22· · · A.· ·I don't recall what it was related to.
23· · · Q.· ·Okay.· But more than once?
24· · · A.· ·(Witness nods head.)· And just for the
25· ·record.· I want to identify that there's a


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·1· ·conflict of interest.· So all the people in this
·2· ·room are witnesses to that.· One of the partners
·3· ·of this office is Tim Ramis.· And he used to be
·4· ·my attorney.
·5· · · Q.· ·So back to my question.
·6· · · A.· ·And you are able to hire an attorney of
·7· ·your own and anything you say or do can and will
·8· ·be used against you in a court of law.
·9· · · · · ·MR. GARRETT:· So do we need to take a
10· ·break so you can talk to your client?
11· · · · · ·THE WITNESS:· I don't think we need to
12· ·take a break.· I'm just identifying some things.
13· · · Q.· ·(By Mr. Garrett)· Those were
14· ·nonresponsive to my question.· Can we go back to
15· ·my question?· So my last question was:· But more
16· ·than once?
17· · · A.· ·Repeat the question.
18· · · Q.· ·Do you want her to repeat the question
19· ·again?
20· · · · · ·(The Reporter read back as follows:
21· · · · · · Question:· You don't recall being sworn
22· · · · · · in and testifying or you don't recall
23· · · · · · what it was related to?
24· · · · · · Answer:· I don't recall what it was
25· · · · · · related to.


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·1· · · Q.· ·All right.· How are you currently
·2· ·employed?
·3· · · A.· ·Self.
·4· · · Q.· ·And as I've looked through the paperwork
·5· ·that you filed with the court, looks like you
·6· ·have a number of businesses.· So do you operate
·7· ·all of those businesses by yourself?· Or do you
·8· ·have some assistance?
·9· · · A.· ·I operate them.
10· · · Q.· ·Do you have any employees?
11· · · A.· ·No.
12· · · Q.· ·So none of the business entities that we
13· ·see in the bankruptcy schedules have employees?
14· · · A.· ·Correct.
15· · · Q.· ·All right.· Do you employ any
16· ·professionals to assist you?
17· · · A.· ·Yes.
18· · · Q.· ·And which would those be?
19· · · A.· ·Dave Delap is my accountant.· Jenny
20· ·Rappe is my bookkeeper.· Those are the main two.
21· · · Q.· ·All right.· So is Dave Delap your
22· ·accountant for all of the businesses that you
23· ·have an interest in?
24· · · A.· ·Yes.
25· · · Q.· ·All right.· And how do you spell Jenny's


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   Vahan Dinihanian, 10/08/2019                                    Page 50

·1· ·purchased or was it leased by you?
·2· · · · · ·MR. PAHL:· Objection.· That calls for a
·3· ·legal conclusion.
·4· · · Q.· ·(By Mr. Garrett)· Or do you know?
·5· · · A.· ·I don't recall.
·6· · · Q.· ·Do you have a copy of the lease or
·7· ·contract someplace?
·8· · · A.· ·Someplace.
·9· · · Q.· ·Any reason why it wasn't produced prior
10· ·to today?
11· · · A.· ·No.
12· · · Q.· ·You could have produced it you just
13· ·didn't?
14· · · A.· ·Correct.
15· · · Q.· ·All right.· Let me turn your attention
16· ·to Schedule I, which is your income.· I see
17· ·you're -- you list your occupation as
18· ·self-employed.· And on the next page you show
19· ·your net income from rental company and from
20· ·operating a business professional farm is
21· ·$4,500?
22· · · A.· ·Correct.
23· · · Q.· ·Is that a set amount every month?
24· · · A.· ·No.
25· · · Q.· ·All right.· And where do you get the


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·1· ·money from -- who pays you that?
·2· · · A.· ·From the sale of farm products that we
·3· ·grow on the farm.
·4· · · Q.· ·So are you selling these yourself?· Or
·5· ·is it one of the business entities that sells
·6· ·it?
·7· · · A.· ·Eagle Holdings sells it.
·8· · · Q.· ·All right.· And then Eagle Holdings,
·9· ·does it write you a check?
10· · · A.· ·No.
11· · · Q.· ·So where does the $4,500 come from?
12· · · A.· ·Cash sales.
13· · · Q.· ·And how do you -- how'd you come up with
14· ·$4,500 when you put this down here on Schedule
15· ·I?
16· · · A.· ·It's just from roadside sales of cut
17· ·flowers.· I planted two crops of cut flowers for
18· ·my daughter.· And she has helped me, pretty well
19· ·in the past, harvesting them and some sales.
20· · · Q.· ·So how often do you harvest the roadside
21· ·flowers?
22· · · A.· ·Different times of the year.· No set
23· ·time.
24· · · Q.· ·And what happens to the proceeds from
25· ·the sale of those roadside sales?


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   Vahan Dinihanian, 10/08/2019                                    Page 52

·1· · · A.· ·It's just cash.· It's just used as cash
·2· ·to buy groceries, and --
·3· · · Q.· ·So you take the cash personally and then
·4· ·use it to buy whatever you need by using the
·5· ·cash?
·6· · · A.· ·Correct.
·7· · · Q.· ·All right.
·8· · · · · ·MR. HENDERSON:· Can we take a break?
·9· · · · · ·MR. GARRETT:· Yes.
10· · · · · ·(Recess from 10:24 a.m. to 10:30 a.m.)
11· · · Q.· ·(By Mr. Garrett)· Let me direct your
12· ·attention back to -- I think this is back on
13· ·Schedule D again.· D as in Delta.· 2.2 is
14· ·Columbia State Bank.
15· · · · · ·MR. HENDERSON:· One more page.
16· · · Q.· ·(By Mr. Garrett)· There you go.· Do you
17· ·see that Columbia State Bank?
18· · · A.· ·Columbia State Bank.· Okay.
19· · · Q.· ·And the property that secures the claim
20· ·is listed as an Arburg model 420C injection
21· ·molding machine?
22· · · A.· ·Okay.
23· · · Q.· ·Do you see that?
24· · · A.· ·I do see that.
25· · · Q.· ·Is that the same --


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·1· ·what the market might be for any of these
·2· ·vehicles?
·3· · · A.· ·It's what I just said.· Depends on, you
·4· ·know, the day and the economy and everything.
·5· · · Q.· ·Right.· But you don't have any opinion,
·6· ·yourself, though, of what these vehicles might
·7· ·have been worth on any given day, do you?
·8· · · A.· ·No.
·9· · · Q.· ·You don't have any expertise in that
10· ·area; correct?
11· · · A.· ·I don't.
12· · · Q.· ·You wouldn't understand what the real
13· ·market value of any of these motorcycles would
14· ·be even if you looked at them in detail;
15· ·correct?
16· · · A.· ·Correct.
17· · · Q.· ·We would have to rely on someone else?
18· · · A.· ·That would be up to you.
19· · · Q.· ·So when you went to acquire these
20· ·vehicles, did you talk to someone about what the
21· ·values might be before you acquired them?
22· · · A.· ·No.
23· · · Q.· ·Where are they all located now?
24· · · A.· ·Um, 237 N.W. Skyline.
25· · · Q.· ·All right.· In the last two years have


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·1· ·you sold or transferred any motorcycles?
·2· · · A.· ·I have.
·3· · · Q.· ·You have?
·4· · · A.· ·(Witness nods head.)
·5· · · Q.· ·Which ones?
·6· · · A.· ·I recently sold a couple of weeks ago
·7· ·the 1930 Indian motorcycle.
·8· · · Q.· ·How much did you sell it for?
·9· · · A.· ·50,000.
10· · · Q.· ·How'd you come up with the value of
11· ·50,000?
12· · · A.· ·Um, it was what, um, the last one that
13· ·sold in the same condition that I knew of.
14· · · Q.· ·And what did you do with the proceeds?
15· · · A.· ·The proceeds were $12,000, I believe,
16· ·net out of that sale.· I bought the parts for
17· ·that, and made parts for it, and assembled the
18· ·complete machine.· And then it was worth more
19· ·than what I paid.· I probably had 38,000 in it.
20· · · Q.· ·So, but my question -- let me back up.
21· ·So you signed over the title to this 1930 Indian
22· ·motorcycle?
23· · · A.· ·Correct.
24· · · Q.· ·All right.· You signed your name to the
25· ·title because it was in your name?


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·1· · · A.· ·Correct.
·2· · · Q.· ·And you received $50,000?
·3· · · A.· ·Correct.
·4· · · Q.· ·All right.· And in what form?· Check?
·5· ·Money order?· Cashier check?
·6· · · A.· ·Money order.
·7· · · Q.· ·Made payable to who?
·8· · · A.· ·Eagle Holdings.
·9· · · Q.· ·Eagle Holdings, LLC?
10· · · A.· ·Correct.
11· · · Q.· ·And where did the check get deposited?
12· · · A.· ·Eagle Holdings.
13· · · Q.· ·All right.· And which account for Eagle
14· ·Holdings?
15· · · A.· ·I don't recall.
16· · · Q.· ·How many accounts are there?
17· · · A.· ·I think there's three now for Eagle
18· ·Holdings.
19· · · Q.· ·Do you recall which accounts they are?
20· · · A.· ·There's one at, um, at Northwest Bank,
21· ·another one at Umpqua Bank, and another one at
22· ·Columbia Credit Union.
23· · · Q.· ·How did you find the buyer for this
24· ·particular motorcycle?
25· · · A.· ·He came to me.


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·1· · · Q.· ·And how did he know to come to you?
·2· · · A.· ·I sell parts at different shows
·3· ·throughout the year.· And just by word of mouth
·4· ·at the show.
·5· · · Q.· ·So where did the transaction actually
·6· ·occur?
·7· · · A.· ·237 Skyline.
·8· · · Q.· ·So it happened at your home?
·9· · · A.· ·It happened at the business at the home.
10· ·All the buildings are business buildings.· It
11· ·was one of the buildings at the business.
12· · · Q.· ·And did you get a bill of sale?· Or is
13· ·there a bill of sale?
14· · · A.· ·I mean, I wrote the buyer a receipt.
15· · · Q.· ·Did you keep a copy?
16· · · A.· ·I did.
17· · · Q.· ·All right.· Was that 1930 Indian
18· ·motorcycle listed for sale any place?
19· · · A.· ·No.
20· · · Q.· ·Did you have that motorcycle shown on
21· ·any Website any place?
22· · · A.· ·No.
23· · · Q.· ·Do you know how the buyer knew that you
24· ·owned that motorcycle?
25· · · A.· ·Like I just told you it was at the show.


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·1· · · Q.· ·Was the show at your home?
·2· · · A.· ·No.
·3· · · Q.· ·Where was the show?
·4· · · A.· ·Tenino, Washington.
·5· · · Q.· ·And do you know who the buyer was?
·6· · · A.· ·I don't recall his name right now.
·7· · · Q.· ·But do you have his name and contact
·8· ·information someplace?
·9· · · A.· ·I don't recall.
10· · · Q.· ·Is it possible you didn't retain his
11· ·name and contact information?
12· · · A.· ·It's possible.
13· · · Q.· ·If you did keep it where would you have
14· ·stored it?
15· · · A.· ·At the 237 N.W. Skyline building.
16· · · Q.· ·Which building?
17· · · A.· ·I don't recall.
18· · · Q.· ·All right.· Other than the 1930 Indian
19· ·motorcycle, have you sold or transferred any
20· ·other vehicles in the last two years?
21· · · A.· ·Not that I recall.
22· · · Q.· ·I mean, it's possible you have you just
23· ·can't recall sitting here today?
24· · · A.· ·Not that I recall.
25· · · Q.· ·If you had would you maintain records of


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·1· ·adds up to 59,461.20.
·2· · · A.· ·We'd have to get those exact figures for
·3· ·you.
·4· · · Q.· ·So sitting here today you don't know
·5· ·what makes up the 59,461.20?
·6· · · A.· ·It appears to be expenses.
·7· · · Q.· ·That's what it says.
·8· · · A.· ·Yeah.
·9· · · Q.· ·My question is:· What expenses?
10· · · A.· ·Well, I think there's a list of expenses
11· ·here.
12· · · Q.· ·Well, which ones are you looking at that
13· ·adds up to that number?
14· · · A.· ·Well, for example, the hangar rent for
15· ·the helicopter, Aurora Meridian, is 6,000 --
16· · · Q.· ·I see that.
17· · · A.· ·-- per quarter.· I mean, per half of the
18· ·year.· It's 12,000 total for the year.· Like I
19· ·said we'd have to review that and get back to
20· ·you.
21· · · · · ·(Mr. Steinberg enters the room.)
22· · · Q.· ·(By Mr. Garrett)· Okay.· Let me -- I
23· ·went through your original schedules and we
24· ·covered those earlier as well, particularly
25· ·Exhibit Number 2 and I think Exhibit Number 3.


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·1· ·But I didn't see any property up in Welches.
·2· ·But you have an interest in property up in
·3· ·Welches, don't you?
·4· · · A.· ·Correct.
·5· · · Q.· ·Why wasn't that listed?
·6· · · A.· ·It should have been.· It should have
·7· ·been listed as something that I own.
·8· · · Q.· ·What's your -- do you know what your
·9· ·relative interest is in that property?
10· · · A.· ·50 percent.
11· · · Q.· ·Okay.· And you own that personally?
12· · · A.· ·No.· I mean, it's owned with my sister.
13· ·My sister is a half partner.
14· · · Q.· ·And who's the other half partner?
15· · · A.· ·My sister and I are half partners in
16· ·that building.
17· · · Q.· ·When you reference yourself you mean you
18· ·personally, not one of your LLCs; correct?
19· · · A.· ·Correct.
20· · · Q.· ·All right.· It looks like you've got one
21· ·of the Columbia Bank -- Columbia State Bank
22· ·accounts relates to the Arburg?
23· · · A.· ·Arburg, yeah.
24· · · Q.· ·Okay.· That was a purchase that was made
25· ·by you?


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·1· · · Q.· ·So just a question on Exhibit 14 before
·2· ·we leave it, why did you take so long to close
·3· ·the Columbia Bank account?· And let me restate
·4· ·it.· Why did you wait until the middle of August
·5· ·to close the Columbia Bank account and transfer
·6· ·to the debtor in possession account?
·7· · · A.· ·It was a mistake.· I thought the only
·8· ·one that I would need to close was the 4499
·9· ·account at U.S. Bank.
10· · · · · ·(Deposition Exhibit Number 15 marked for
11· · · · · · identification.)
12· · · Q.· ·(By Mr. Garrett)· So I've handed you
13· ·what we've marked as Exhibit 15.· Do you
14· ·recognize this account?
15· · · A.· ·Yes.
16· · · Q.· ·Is this the Eagle Holdings account?
17· · · A.· ·It is.
18· · · Q.· ·All right.· I also see that your name is
19· ·on it.· Is this a joint account between you and
20· ·Eagle Holdings, LLC?
21· · · A.· ·I mean my name is on Eagle Holdings
22· ·account, on this account, yes.
23· · · Q.· ·All right.· So this is a joint account?
24· ·Or do you know?
25· · · A.· ·I don't know.· They put my name on there


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·1· ·because I showed them the LLC documents for
·2· ·Eagle Holdings, and my name as the manager.
·3· · · Q.· ·But sitting here today you don't know
·4· ·whether it's a joint account or not?
·5· · · A.· ·I don't.
·6· · · Q.· ·Okay.· I notice there's two deposits at
·7· ·the end of August, August 29, totaling $50,000.
·8· ·Do you know what that's from?
·9· · · A.· ·That's that Indian that was sold, 1930
10· ·Indian.
11· · · Q.· ·All right.· And is there a reason why
12· ·this was not put into the debtor in possession
13· ·account?
14· · · A.· ·No.· The motorcycle was part of the
15· ·Eagle Holdings parts business, so...
16· · · Q.· ·Is that the reason?
17· · · A.· ·That's the reason.
18· · · Q.· ·Okay.
19· · · · · ·(Deposition Exhibit Number 16 marked for
20· · · · · · identification.)
21· · · Q.· ·(By Mr. Garrett)· I've handed you what
22· ·has been marked Exhibit 16.· Are you familiar
23· ·with this?
24· · · A.· ·Looks familiar.
25· · · Q.· ·Have you seen this before?


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·1· ·do the work on the property?
·2· · · A.· ·Correct.
·3· · · Q.· ·So Eagle Holdings, LLC contracted with
·4· ·Maywood -- with Norris & Stevens, Inc., to do
·5· ·some maintenance work?
·6· · · A.· ·There is no contract.· I just did --
·7· ·Eagle Holdings does the maintenance.· They pay
·8· ·Eagle Holdings rather than paying somebody else.
·9· ·Somebody else was doing the maintenance until we
10· ·couldn't afford it any longer.· That's why.
11· · · Q.· ·So who actually goes over and does the
12· ·physical maintenance work?
13· · · A.· ·I do.
14· · · Q.· ·You do.· And how do you get paid?
15· · · A.· ·This is it.
16· · · Q.· ·Well, this went to Eagle Holdings, LLC?
17· · · A.· ·I sent them a bill.· I am Eagle
18· ·Holdings.· So I do the work and they send me the
19· ·money.
20· · · Q.· ·So Eagle Holdings, LLC are you both the
21· ·same thing as far as you're concerned?
22· · · A.· ·Yes.
23· · · Q.· ·MotoMinded, LLC.· I asked you about that
24· ·before.· What is MotoMinded, LLC?
25· · · A.· ·That's a customer of mine that buys a


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·1· · · A.· ·Okay.
·2· · · Q.· ·Okay.· Take a look at number 12.· We
·3· ·didn't receive any of these documents either
·4· ·pertaining to personal property with a value of
·5· ·$500 or more.
·6· · · A.· ·I don't have any of those documents.
·7· · · Q.· ·So no bills of sale receipts,
·8· ·appraisals, or insurance valuations, for any of
·9· ·that?
10· · · A.· ·I don't have any of those documents.
11· · · Q.· ·Did you have any of those documents?
12· · · A.· ·I don't know.
13· · · Q.· ·Have you insured jewelry, artwork, or
14· ·guns, or rugs?
15· · · A.· ·No.
16· · · Q.· ·Let me ask you about Papa Pete's for a
17· ·minute.· When did you acquire that business?
18· · · A.· ·Papa Pete's.
19· · · Q.· ·Is that a business up in Washington?
20· · · A.· ·That's not my business.
21· · · Q.· ·Do you know what I'm referring to?
22· · · A.· ·I do.
23· · · Q.· ·Okay.· Do you know who owns it?
24· · · A.· ·I do.
25· · · Q.· ·Who owns it?


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·1· · · A.· ·A family named Coscia.
·2· · · Q.· ·Okay.· And what's your relationship to
·3· ·the property on which it sits?
·4· · · A.· ·I own the property that they lease.
·5· · · Q.· ·Okay.· When did you acquire that?
·6· · · A.· ·I don't recall.· A long time ago.
·7· · · Q.· ·Do you know what it's worth?
·8· · · A.· ·I don't.
·9· · · Q.· ·And is there --
10· · · A.· ·It might be worth zero.· Because I tried
11· ·to hire two Realtors.· One of them was Marcus &
12· ·Millichap.· And they said that it wasn't worth
13· ·anything because there's a tenant where the
14· ·lease is about to expire and nobody's going to
15· ·buy it.· I asked them if they could sell it for
16· ·me.· Didn't give them a price.· They pretty much
17· ·said forget it.
18· · · Q.· ·Your understanding the value of the
19· ·property itself is zero?
20· · · A.· ·I don't know if it's zero.· But they
21· ·said they wouldn't be able to sell it.
22· ·Investors are looking for properties with new
23· ·leases -- or not leases that are ready to
24· ·expire.· The lease expires next month.
25· · · Q.· ·All right.· And have you discussed


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·1· ·renewing or creating a new lease?
·2· · · A.· ·They have an option to renew.· But we've
·3· ·tried to contact them to see if they would tell
·4· ·us early and they won't.
·5· · · Q.· ·So they might renew or they might not;
·6· ·right?
·7· · · A.· ·That's still a possibility.
·8· · · Q.· ·And if they don't renew, then what are
·9· ·you going to do?
10· · · A.· ·I don't know.
11· · · Q.· ·Do you know what the tax assessed value
12· ·is for that property?
13· · · A.· ·I don't know, off the top of my head.
14· · · Q.· ·And which -- is there a specific entity
15· ·that owns that property?
16· · · A.· ·933 Harrison.
17· · · Q.· ·And when I looked at your original
18· ·schedules, and then your amended schedule, you
19· ·didn't put a value next to each of the LLCs or
20· ·the businesses.· Why is that?
21· · · A.· ·I don't know what they're worth.
22· · · Q.· ·Did you try to put a value on them?
23· · · A.· ·No.
24· · · Q.· ·You came up with a collective value of
25· ·20 million.· How did you arrive at that?


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·1· · · A.· ·That's mostly my value of my half of
·2· ·15005 Cornell.
·3· · · Q.· ·What about the rest?
·4· · · A.· ·It would have some kind of a net value
·5· ·after all the taxes are paid.· Like I said
·6· ·before, the federal and state tax has to be
·7· ·paid, the 1031 benefits have to be given back,
·8· ·the real estate commissions have to be paid.
·9· ·There would be -- there would be a small net
10· ·leftover.
11· · · Q.· ·But you haven't done that analysis yet;
12· ·is that right?
13· · · A.· ·No.
14· · · Q.· ·Would you do that analysis?· Or would
15· ·you have someone else do that analysis?
16· · · A.· ·I wouldn't do it.· It's not part of my
17· ·plan.· That's my business.· That's the way that
18· ·I parent my daughter, and I run my business.
19· ·And that's my livelihood.
20· · · Q.· ·That's not my question.
21· · · A.· ·Get rid of that and I don't survive,
22· ·so...
23· · · Q.· ·My question is:· Is that analysis that
24· ·you would do?· Or is that analysis that you
25· ·would have someone else do if you were going to


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·1· ·the property at the time of the dissolution?
·2· · · A.· ·I wouldn't know what the value of it
·3· ·would be.· You'd have to actually talk to people
·4· ·that may buy it.· And you would have to give
·5· ·them the problems with the property and then see
·6· ·what they would say.· And I told that to this
·7· ·appraiser but I never saw this appraisal.
·8· · · Q.· ·So you never saw the finished product?
·9· · · A.· ·Right.
10· · · Q.· ·So on the Skyline property I think
11· ·you've mentioned that there are multiple
12· ·buildings other than the personal residence that
13· ·you live in?
14· · · A.· ·Correct.
15· · · Q.· ·What are those other buildings?
16· · · A.· ·Shops.
17· · · Q.· ·Is there another single-family dwelling
18· ·unit on the property?
19· · · A.· ·The original little house that was on
20· ·the property.· Yes, it's there.
21· · · Q.· ·Does anybody live in that property?
22· · · A.· ·Yes.
23· · · Q.· ·Are they tenants?
24· · · A.· ·Yes.
25· · · Q.· ·Is there a written rental agreement?


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·1· · · A.· ·Yes.
·2· · · Q.· ·Do you have a copy of that written
·3· ·rental agreement?
·4· · · A.· ·No.
·5· · · Q.· ·How much do those tenants pay per month?
·6· · · A.· ·Approximately $1,000 apiece.
·7· · · Q.· ·And what do you mean by apiece?
·8· · · A.· ·Huh?
·9· · · Q.· ·What do you mean by apiece?· $1,000
10· ·apiece?
11· · · A.· ·Each tenant pays $1,000.
12· · · Q.· ·How many tenants do you have?
13· · · A.· ·Three.
14· · · Q.· ·And was that information included in
15· ·your bankruptcy schedules?
16· · · A.· ·No.
17· · · Q.· ·Who are the tenants?· Their names?
18· · · A.· ·Names of the tenants?· I don't have
19· ·their names, right off the top of my head.· We
20· ·discussed this before, and it's -- it could
21· ·be --
22· · · · · ·MR. HENDERSON:· Well, either you know
23· ·the answer to her question or you don't.
24· · · · · ·THE WITNESS:· Yeah, I don't.
25· · · Q.· ·(By Ms. DuBay)· Would you be able to


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·1· ·find out that information?
·2· · · A.· ·Yes.
·3· · · Q.· ·And where would that information be
·4· ·located?
·5· · · A.· ·237 at Eagle Holdings' office.
·6· · · Q.· ·So you mentioned earlier that Eagle
·7· ·Holdings also rents some of the buildings?
·8· · · A.· ·Just that one.
·9· · · Q.· ·What's that one?
10· · · A.· ·The one you just asked about.
11· · · Q.· ·So Eagle Holdings rents the
12· ·single-family dwelling unit?
13· · · A.· ·Correct.
14· · · Q.· ·So the money that the tenants are paying
15· ·for that single-family unit goes to Eagle
16· ·Holdings?
17· · · A.· ·Into Eagle Holdings.· That's correct.
18· · · Q.· ·Do you know what account that money is
19· ·deposited into?
20· · · A.· ·Two of them.· Well, all three of them go
21· ·into Eagle Holdings' PayPal account now.
22· · · Q.· ·Does Eagle Holdings have an ownership
23· ·interest in 237 Skyline?
24· · · A.· ·It does, yes.
25· · · Q.· ·And do you have a document showing Eagle


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·1· · · A.· ·Correct.
·2· · · Q.· ·And is that paid in one lump sum, or do
·3· ·you make payments?
·4· · · A.· ·I usually pay it in one lump sum.
·5· · · Q.· ·And has this particular tax year been
·6· ·paid yet?
·7· · · A.· ·No.
·8· · · Q.· ·Are there personal property taxes for
·9· ·Skyline?
10· · · A.· ·No.
11· · · Q.· ·Are there any other assessments or city
12· ·charges from the City of Portland or maybe a
13· ·water bureau?
14· · · A.· ·The water would be from the City, yeah.
15· · · Q.· ·Are there any other city assessments
16· ·that the property is charged?
17· · · A.· ·Not that I can think of.
18· · · Q.· ·So moving on to the Cornell Road
19· ·property, have you attempted to refinance that
20· ·property?
21· · · A.· ·To try to refinance the what?· What was
22· ·the question?
23· · · Q.· ·Have you attempted to refinance the
24· ·Cornell Road property to pay the judgment lien
25· ·that's on the property?


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·1· · · A.· ·Have I tried to refinance?· I tried to
·2· ·get financing by using my interest in that
·3· ·property, yes.
·4· · · Q.· ·When did you attempt to get financing?
·5· · · A.· ·Oh, it's been for several years now.
·6· · · Q.· ·Do you recall roughly an exact date?
·7· · · A.· ·I don't know the exact date.
·8· · · Q.· ·Did you submit a loan application?
·9· · · A.· ·No.· I just talked to several people
10· ·that said that, um -- no, I didn't.
11· · · Q.· ·Do you remember who you talked to about
12· ·financing that property?
13· · · A.· ·Not off the top of my head.· We've
14· ·talked to a lot of people.· They won't finance
15· ·it because they can't get a partition.· And I
16· ·need a partition line, or I need an agreement
17· ·from my sister to be okay with using my half as
18· ·collateral to get the loan to pay it off.· She
19· ·won't do it.· And they won't partition it.· So
20· ·pretty much impossible.
21· · · Q.· ·And do you recall who you had those
22· ·conversations with?
23· · · A.· ·Conversations with regard to, um,
24· ·financing the property?
25· · · Q.· ·Yes.


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·1· · · A.· ·Yeah.
·2· · · Q.· ·And who were those people?
·3· · · · · ·MR. HENDERSON:· Well, I would say you
·4· ·can answer other than don't talk about
·5· ·discussions with your attorneys.· But other than
·6· ·that you're free to answer.
·7· · · · · ·THE WITNESS:· Well, the most recent one
·8· ·is this Mr. Brenneke.· Um...
·9· · · Q.· ·(By Ms. DuBay) Would that be Paul
10· ·Brenneke?
11· · · A.· ·Correct.
12· · · Q.· ·And so you've talked to Mr. Brenneke
13· ·about getting a loan secured by the Cornell Road
14· ·property?
15· · · A.· ·Correct.
16· · · Q.· ·And but you haven't submitted an actual
17· ·application for a loan?
18· · · A.· ·Correct.
19· · · Q.· ·When did you have those conversations
20· ·with Mr. Brenneke?
21· · · A.· ·Last week.
22· · · Q.· ·Are you attempting to obtain financing
23· ·for the Cornell property now?
24· · · A.· ·I would like to do that, yeah.· Yes.
25· · · Q.· ·What would the purpose of that financing


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·1· ·be?
·2· · · A.· ·To go forward with the platting and
·3· ·subdivision of lots.· And it's 1031ing packages
·4· ·of lots into a property that I could obtain a
·5· ·loan to then pay off the debt at hand.· That
·6· ·would be the -- that's the plan.
·7· · · Q.· ·So you would not use that financing to
·8· ·just pay off the debt?
·9· · · A.· ·No.
10· · · Q.· ·So --
11· · · A.· ·I mean, I -- it's still a possibility.
12· ·We're still working through the details.· Sorry.
13· · · Q.· ·Other than over the last week have you
14· ·talked to Mr. Brenneke or any other person
15· ·before that about financing the property?
16· · · A.· ·Yes, I said that I did.· You asked that
17· ·before.· And I can't recall who it all was.
18· · · Q.· ·Okay.· And how much money have you and
19· ·Mr. Brenneke discussed the financing to be for?
20· · · A.· ·I don't recall the exact number that it
21· ·will end up at.
22· · · Q.· ·Have you had any discussions about a
23· ·ballpark number with him?
24· · · A.· ·It's still being negotiated.
25· · · Q.· ·Have you submitted any documentation to


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·1· ·Mr. Brenneke for this financing?
·2· · · A.· ·No.
·3· · · Q.· ·Has he asked for any documentation?
·4· · · A.· ·No.
·5· · · Q.· ·Have you obtained an appraisal for the
·6· ·property for this financing?
·7· · · A.· ·No.
·8· · · Q.· ·Do you plan to obtain an appraisal for
·9· ·the property?
10· · · A.· ·Not at this time.
11· · · Q.· ·Have you ever had an appraisal -- or
12· ·other broker's price opinion, other evaluations?
13· · · A.· ·No.· We think we pretty much know
14· ·ourselves.· We're familiar with land values and
15· ·what the value of it is today and then what the
16· ·value of it is after the entitlement.· It's not
17· ·entitled.· So it's got a higher value when it's
18· ·entitled.
19· · · Q.· ·So the valuation that you listed in your
20· ·schedules is that based on the valuation with or
21· ·without entitlements?
22· · · A.· ·Without.
23· · · Q.· ·And what's the valuation with
24· ·entitlements?
25· · · A.· ·We think that it could be twice as much


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·1· ·expenses of garbage, gas, water, sewer, things
·2· ·like that are paid for by Eagle Holdings.· The
·3· ·rent from the rental house goes into Eagle
·4· ·Holdings.· Sorry it was omitted.· We can put it
·5· ·on there.
·6· · · Q.· ·So have you reviewed these?
·7· · · A.· ·I have.
·8· · · Q.· ·Have you reviewed them for accuracy?
·9· · · A.· ·Yes.
10· · · Q.· ·So looking at page 2 of Exhibit 9, we're
11· ·looking at the liabilities and equity section.
12· ·And nowhere in the liability section is the
13· ·judgment that you owe to Ms. Teherani-Ami; is
14· ·that correct?
15· · · A.· ·Okay.· No.
16· · · Q.· ·Is that a liability that you personally
17· ·owe?
18· · · A.· ·Yes.
19· · · Q.· ·And is there any reason that it would be
20· ·omitted from your balance sheet?
21· · · A.· ·No.
22· · · · · ·(Deposition Exhibit Number 26 marked for
23· · · · · · identification.)
24· · · Q.· ·(By Ms. DuBay)· All right.· So you've
25· ·been handed Exhibit 26, which is a Northwest


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·1· ·Bank loan billing statement; is that correct?
·2· · · A.· ·Okay.
·3· · · Q.· ·And it looks like it's sent to 933
·4· ·Harrison Avenue, Centralia, LLC.
·5· · · A.· ·Okay.
·6· · · Q.· ·Is that accurate?
·7· · · A.· ·Yes.
·8· · · Q.· ·And I think you testified earlier that
·9· ·this is the LLC that's related to the Papa
10· ·Pete's Pizza property?
11· · · A.· ·Yes.
12· · · Q.· ·And is this the loan related to that
13· ·property?
14· · · A.· ·Yes.
15· · · Q.· ·And is that property -- is that a
16· ·commercial or residential property?
17· · · A.· ·Commercial.
18· · · Q.· ·Is there any other tenant besides Papa
19· ·Pete's?
20· · · A.· ·No.
21· · · Q.· ·Is that property currently listed for
22· ·sale?
23· · · A.· ·No.
24· · · Q.· ·How much rent does Papa Pete's pay?
25· · · A.· ·10,000 a month.


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·1· · · Q.· ·And do you have a written lease
·2· ·agreement with Papa Pete's?
·3· · · A.· ·Yes.
·4· · · Q.· ·And where would a copy of that document
·5· ·be located?
·6· · · A.· ·Eagle Holdings 237.
·7· · · Q.· ·And what account are the rents deposited
·8· ·into?
·9· · · A.· ·I believe that one goes into Northwest
10· ·Bank, Eagle Holdings' account.
11· · · Q.· ·Is that account ending 3422?
12· · · A.· ·I don't know what the number of it is.
13· · · Q.· ·Looking at this loan statement it says,
14· ·down toward the bottom, the payment due will be
15· ·charged to checking account 3422.· Do you know
16· ·what checking account that refers to?
17· · · A.· ·That must be the Eagle Holdings account
18· ·at Northwest Bank.· Okay.· I don't have all my
19· ·account numbers memorized.
20· · · Q.· ·So Eagle Holdings is paying that loan
21· ·for Papa Pete's?
22· · · A.· ·That's correct.· The loan money comes
23· ·into Eagle Holdings' account and they
24· ·automatically pay it every month.
25· · · Q.· ·And then a little bit further up it says


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·1· ·collateral, slash, property first DOT on
·2· ·property located at 939 Harrison Avenue.· Do you
·3· ·see that?
·4· · · A.· ·Collateral...
·5· · · Q.· ·It's in the loan summary section.
·6· · · A.· ·Loan summary section.
·7· · · · · ·MR. HENDERSON:· First line.· This one
·8· ·here.
·9· · · · · ·THE WITNESS:· Oh, okay.· Collateral.
10· ·First on property located 93...· Well, the
11· ·property has a weird address.· It's actually got
12· ·two addresses.· The city of Centralia screwed up
13· ·when they surveyed the property.· But they go by
14· ·933 Harrison.
15· · · Q.· ·(By Ms. DuBay)· And that's the address
16· ·that has the Papa Pete's in it?
17· · · A.· ·There's only one address there.· There's
18· ·not two.
19· · · Q.· ·Northwest Bank has the first Deed of
20· ·Trust on that property securing this loan?
21· · · A.· ·Yes.
22· · · Q.· ·Is there anything else that secures this
23· ·loan?
24· · · A.· ·No.
25· · · Q.· ·Do you have a personal guarantee to


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·1· ·secure this loan?
·2· · · A.· ·I don't know.
·3· · · Q.· ·Do you have any document that would show
·4· ·if you had a personal guarantee on this loan?
·5· · · A.· ·The loan documents I would say would
·6· ·show.
·7· · · Q.· ·Do you maintain copies of those loan
·8· ·documents?
·9· · · A.· ·Yes.
10· · · Q.· ·And where are those documents?
11· · · A.· ·237.
12· · · Q.· ·So the same section, loan summary, it's
13· ·got a maturity date of 3/1/2020; is that
14· ·correct?
15· · · A.· ·That's correct.
16· · · Q.· ·And has this loan matured in the past?
17· · · A.· ·It has.
18· · · Q.· ·And have you gotten extensions for this
19· ·loan?
20· · · A.· ·We have.
21· · · Q.· ·Have you had to provide any additional
22· ·collateral or down payments to receive those
23· ·extensions?
24· · · A.· ·No.
25· · · Q.· ·When was the last time you executed an


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·1· ·extension of this loan?
·2· · · A.· ·I don't recall.
·3· · · Q.· ·Is there any other real property that
·4· ·secures this loan besides the 933?
·5· · · A.· ·No.
·6· · · · · ·(Deposition Exhibit Number 27 marked for
·7· · · · · · identification.)
·8· · · Q.· ·(By Ms. DuBay)· Twenty-Seven.· So take
·9· ·your time and look through Exhibit 27.· It's a
10· ·set of statement of accounts from Columbia
11· ·Credit Union.
12· · · A.· ·Okay.
13· · · Q.· ·So it appears that this is an account in
14· ·the name of Eagle Holdings, LLC?
15· · · A.· ·Okay.· Yes.
16· · · Q.· ·And on the first page, it says there is
17· ·an external deposit from Northwest Bank in the
18· ·amount of $238,000 and change; is that correct?
19· · · A.· ·Correct.
20· · · Q.· ·What was that money from?
21· · · A.· ·I sold the stock that I owned in
22· ·Northwest Bank in order to pay bills.
23· · · Q.· ·And that was done in March of 2019?
24· · · A.· ·I don't recall.
25· · · Q.· ·This statement period is from March 1,


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·1· · · Q.· ·And you testified earlier that you're
·2· ·providing the maintenance directly?
·3· · · A.· ·Yes.
·4· · · Q.· ·And that's what these payments are for?
·5· · · A.· ·That's correct.
·6· · · Q.· ·What are superintendent's expenses?
·7· · · A.· ·Things like changing ballast, electrical
·8· ·ballast, and maybe a door repair or something
·9· ·like that.
10· · · Q.· ·And are you still performing those
11· ·services today?
12· · · A.· ·Yes.
13· · · Q.· ·And so are you still receiving income?
14· · · A.· ·Yes.
15· · · Q.· ·And do you know about how much a month
16· ·you're receiving for doing that?
17· · · A.· ·It's different every month.
18· · · Q.· ·And you said -- I think you said you
19· ·send invoices to Norris & Stevens for that?
20· · · A.· ·I do.
21· · · Q.· ·So you testified earlier about the $4500
22· ·monthly income that's listed in your schedules.
23· ·And that's based on a roadside floral sales?
24· · · A.· ·That was for the year.
25· · · Q.· ·So --


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·1· · · A.· ·That's what I testified was that that
·2· ·was for the year.
·3· · · Q.· ·So your income statement it, does not
·4· ·include the income that you would receive from
·5· ·the Maywood Professional Plaza services?
·6· · · A.· ·Oh, I don't know.
·7· · · · · ·(Deposition Exhibit Number 37 marked for
·8· · · · · · identification.)
·9· · · Q.· ·(By Ms. DuBay)· This is Exhibit 37.· It
10· ·appears to be statements from a Charles Schwab
11· ·account; is that correct?
12· · · A.· ·Correct.
13· · · Q.· ·And it says it's a custodial account and
14· ·it's got your name.· And then looks like it
15· ·might say custodian for Sonia Dinihanian?
16· · · A.· ·Correct.· I opened it up for her.
17· · · Q.· ·So this is an account that you manage on
18· ·behalf of your daughter?
19· · · A.· ·Correct.
20· · · Q.· ·So looking at the first statement, which
21· ·is for January 20 -- January of 2018, on page 3
22· ·it says that the ending value on 1/31/18 was for
23· ·this period $43,000, almost 44.· Is that
24· ·accurate?
25· · · A.· ·Correct.


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·1· ·judgment?
·2· · · A.· ·No.· The best possible scenario would be
·3· ·to dispose of the Cornell Road property to pay
·4· ·that off either through a partition or sell it
·5· ·as a whole.
·6· · · Q.· ·So I think you testified earlier that
·7· ·you aren't sure if you're disputing the
·8· ·judgment; is that correct?
·9· · · A.· ·Correct.
10· · · Q.· ·So did you file these bankruptcy cases
11· ·to avoid paying the judgment balance?
12· · · A.· ·We were out of time.· And your client
13· ·was demanding the entire payment and not going
14· ·to take a part payment.· So there had to be more
15· ·time.· And the bankruptcy was protection to give
16· ·us more time.
17· · · · · ·The Judge Hunsaker in Washington County
18· ·went against -- ruled against the statute of the
19· ·state of Oregon.· And I later found out that her
20· ·judgment -- her ruling was not a legal ruling.
21· ·And if she was appealed that she would lose that
22· ·ruling.· So we needed more time so we're still
23· ·going through that process.
24· · · Q.· ·So do you plan to appeal that ruling
25· ·from Judge Hunsaker?


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·1· · · A.· ·That's up in the air.· We'll have to see
·2· ·what my counsel decides to do.
·3· · · Q.· ·So you were talking about you needed
·4· ·more time.· Are you referring to the nonjudicial
·5· ·foreclosures of the two, the Skyline and the
·6· ·Cornell Road property?
·7· · · A.· ·Correct.
·8· · · Q.· ·And were those two nonjudicial
·9· ·foreclosure sales scheduled in June of this
10· ·year?
11· · · A.· ·Is that when they were?· Okay.
12· · · Q.· ·Well, did you file --
13· · · A.· ·Yeah, okay.· I don't -- I don't have all
14· ·the dates memorized.· But we ran out of time, so
15· ·we filed to get the time that we need to work
16· ·this out, and restructure and go forward.
17· · · Q.· ·So you filed the bankruptcy cases to
18· ·stop the two nonjudicial foreclosures?
19· · · A.· ·Correct.
20· · · Q.· ·And these cases were both filed
21· ·simultaneously on May 21st of this year; is that
22· ·correct?
23· · · A.· ·I don't remember the exact simultaneous
24· ·time or date of the filing.
25· · · Q.· ·Well, did you file these cases on May


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·1· ·21st because there was a contempt proceeding
·2· ·against you on May 22nd?
·3· · · A.· ·I don't remember the exact date, but
·4· ·they were filed.
·5· · · Q.· ·Well, do you recall that there was a
·6· ·hearing scheduled in the dissolution case in
·7· ·May?· Do you --
·8· · · A.· ·Filed the dissolution.· I don't
·9· ·remember.
10· · · Q.· ·That there was a contempt proceeding
11· ·against you in that case?
12· · · A.· ·Okay.· I remember something about that.
13· · · Q.· ·Did you file these cases to stop that
14· ·contempt proceeding against you?
15· · · A.· ·I filed because we needed more time to
16· ·work through a process to complete this process.
17· · · Q.· ·So by time you mean also stopping the
18· ·contempt proceeding?
19· · · A.· ·If it stops the contempt proceeding, it
20· ·stops the contempt.· But we needed more time
21· ·because your client wouldn't take a part
22· ·payment.· And so we're going to take the time
23· ·now to work through this.· I have a plan.· And
24· ·we're not going to -- all the questioning that
25· ·you did about all the accounts or anything


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·1· ·doesn't mean anything because it's not going to
·2· ·be used.· I don't agree to use it.· The
·3· ·motorcycles or whatever you want, the trucks and
·4· ·cars that's all great.
·5· · · · · ·MR. HENDERSON:· I think you've answered
·6· ·her question.
·7· · · · · ·THE WITNESS:· Okay.
·8· · · Q.· ·(By Ms. DuBay)· So for your proposed
·9· ·plan I think it's been said before that the
10· ·objective of the proposed plan is going to --
11· ·excuse me, is going to be to continue the
12· ·partition litigation on the Cornell property; is
13· ·that correct?
14· · · A.· ·That's one --
15· · · · · ·MR. HENDERSON:· One second.· To the
16· ·extent it does not involve discussion with your
17· ·attorneys you can answer.
18· · · · · ·THE WITNESS:· That may be one
19· ·possibility.· We're not sure about the partition
20· ·action.· Like I said, it was -- the judge ruled
21· ·against the Oregon statute of partitioning kind.
22· ·So we feel that that's -- I feel that that's
23· ·pretty severe.
24· · · Q.· ·(By Ms. DuBay)· So how will the proposed
25· ·plan propose to pay the judgment in full?


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·1· · · A.· ·That's up in the air.· We haven't gotten
·2· ·to that point.
·3· · · Q.· ·And how would the plan treat
·4· ·Ms. Teherani-Ami if she is an impaired unsecured
·5· ·creditor?
·6· · · A.· ·How would it treat her?· I don't know.
·7· · · Q.· ·Did you plan to file the adversary
·8· ·complaint related to the Cornell Deed of Trust
·9· ·when you filed these bankruptcy cases?
10· · · A.· ·The adversary complaint.· What was that
11· ·now?
12· · · Q.· ·Did you plan to file -- the adversary
13· ·complaint alleging that the Cornell Deed of
14· ·Trust was fraudulently transferred, did you plan
15· ·to file that when these cases were filed in May?
16· · · A.· ·I don't recall.
17· · · Q.· ·How will the plan propose to pay the
18· ·expenses of the partition case?
19· · · A.· ·We haven't gotten to that point yet.
20· · · Q.· ·And how do you plan to pay for the
21· ·lawyers for the partition case?
22· · · A.· ·Um, we haven't arrived at that
23· ·conclusion as well.
24· · · Q.· ·Okay.
25· · · · · ·MS. DUBAY:· I think I'm -- off the


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·1· · · · · · · · C E R T I F I C A T E

·2

·3

·4· · · · · ·I, Cynthia Marie Smith, a Notary Public

·5· ·for Oregon, do hereby certify that, pursuant to

·6· ·stipulation of counsel for the respective

·7· ·parties hereinbefore set forth, VAHAN

·8· ·DINIHANIAN, JR. Personally appeared before me at

·9· ·the time and place set forth in the caption

10· ·hereof; that at said time and place I reported

11· ·in Stenotype all testimony adduced and other

12· ·oral proceedings had in the foregoing matter;

13· ·that thereafter my notes were reduced to

14· ·typewriting under my direction; and that the

15· ·foregoing transcript, pages 1 to 241, both

16· ·inclusive, constitutes a full, true and accurate

17· ·record of all such testimony adduced and oral

18· ·proceedings had, and of the whole thereof.

19· · · · · ·Witness my hand and CSR stamp at

20· ·Vancouver, Washington, this 27th day of October,

21· ·2019.

22

23·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   __________________________
· ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·CYNTHIA MARIE SMITH
24·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·Notary Public for Oregon,
· ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·Residing at Vancouver, Washington.
25·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·My Commission Expires:· 9/27/21


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